
29 Cal.App.2d 663 (1938)
GEORGE P. BALDIN, Appellant,
v.
CARL FRIEDMAN et al., Respondents.
Civ. No. 2408. 
California Court of Appeals. Fourth Appellate District.  
December 15, 1938.
 No appearance for Appellant.
 A. Heber Winder for Respondents.
 Barnard, P. J.
 Respondents have moved to dismiss this appeal, supported by the certificate of the county clerk from which it appears that an order denying a preliminary injunction was entered on August 7, 1936; that written notice of entry of that order was served on July 29, 1938; that notice of appeal was filed on August 7, 1936; that no notice to prepare a transcript on appeal has been made or filed; that no proposed bill of exceptions has been filed; that no proceeding for the preparation of a record on appeal is pending in the trial court, and that the time to institute such a proceeding has expired.
 [1] More than two years elapsed between the time notice of appeal was filed and the time notice was given of a motion to dismiss, and no appearance was made on behalf of the appellant when the motion to dismiss came on for hearing. Under these circumstances the motion to dismiss should be granted. (Rees v. Roberts, 24 Cal.App.2d 69 [74 PaCal.2d 296].)
 The appeal is dismissed.
 Marks, J., and Griffin, J., concurred.
